Case 8:20-cv-00681-DOC-JDE Document 19 Filed 05/20/20 Page 1 of 1 Page ID #:56



                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No. SA CV 20-00681-DOC                                                 Date: May 20, 2020

 Title: Staci Gilman v. The Vons Companies, Inc., et al.


 PRESENT: The Honorable DAVID O. CARTER, U.S. District Judge

                 Kelly Davis                                                None
               Courtroom Clerk                                          Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:                  ATTORNEYS PRESENT FOR DEFENDANT:
           None Present                                       None Present

 PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE WHY THIS CASE
                            SHOULD NOT BE DISMISSED FOR LACK OF
                            PROSECUTION



      The Court hereby orders plaintiff (s) to show cause in writing no later than
 MAY 29, 2020 why this action should not be dismissed for lack of prosecution.

         It is the responsibility of plaintiff to respond promptly to all Orders and to prosecute the
 action diligently, including filing proofs of service and stipulations extending time to respond. If
 necessary, plaintiff(s) must also pursue Rule 55 remedies promptly upon default of any
 defendant. All stipulations affecting the progress of the case must be approved by the Court,
 Local Rule 7-1.

        As an alternative to a written response by plaintiff(s), the Court will accept one of the
 following as an appropriate response to this OSC if it is filed on or before the above date, as
 evidence that the matter is being prosecuted diligently:

     •   Defendant’s Answer to Complaint OR Plaintiff’s Request for Entry of Default

         No oral argument of this matter will be heard unless ordered by the Court. The Order
 will stand submitted upon the filing of a responsive pleading or motion on or before the date
 upon which a response by plaintiff(s) is due. Plaintiff counsel is ordered to serve this
 document on defendant(s) within 24 hours after entry on the docket.


 MINUTES FORM 11
 CIVIL-GEN                                                    Initials of Deputy Clerk: kd

 CV (10/08)                           CIVIL MINUTES - GENERAL                                Page 1 of 1
